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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled DECLARATION OF MATTHEW PLISKIN IN
      SUPPORT OF FINAL FEE APPLICATIONS OF DEBTORS’ PROFESSINALS will be served or was
  4   served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
      manner stated below:
  5
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On April 23, 2018, I checked the CM/ECF docket for this bankruptcy case or
  7   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
  8
            Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
  9         Ron Bender rb@lnbyb.com
            Cathrine M Castaldi ccastaldi@brownrudnick.com
 10         Russell Clementson russell.clementson@usdoj.gov
            Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 11         Matthew A Gold courts@argopartners.net
            Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 12         Jeffrey A Krieger jkrieger@ggfirm.com,
            kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
 13         Samuel R Maizel samuel.maizel@dentons.com,
            alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kath
 14         ryn.howard@dentons.com
            Krikor J Meshefejian kjm@lnbrb.com
 15         Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
            S Margaux Ross margaux.ross@usdoj.gov
 16         Susan K Seflin sseflin@brutzkusgubner.com
            John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
 17         United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
            Sharon Z. Weiss sharon.weiss@bryancave.com,
 18         raul.morales@bryancave.com;geri.anderson@bryancave.com
            Douglas Wolfe dwolfe@asmcapital.com
 19
 20   2. SERVED BY UNITED STATES MAIL: On April 23, 2018, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 21   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 22
                                                                              Service information continued on attached page
 23
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 24   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on April 23, 2018, I served the following persons and/or entities by personal delivery, overnight mail
 25   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
 26   mail to, the judge will be completed no later than 24 hours after the document is filed.

 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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      Served via Attorney Service
  1   Hon. Martin R. Barash
      United States Bankruptcy Court
  2   21041 Burbank Boulevard, Suite 342
      Woodland Hills, CA 91367
  3
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
  4   true and correct.

  5    April 23, 2018                        Lourdes Cruz                                /s/ Lourdes Cruz
       Date                                  Type Name                                   Signature
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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
